

Galicia v Trump (2021 NY Slip Op 02491)





Galicia v Trump


2021 NY Slip Op 02491


Decided on April 27, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 27, 2021

Before: Renwick, J.P., Oing, Moulton, González, JJ. 


Index No. 24973/15E Appeal No. 11218N Case No. 2019-03894 

[*1]Efrain Galicia, et al., Plaintiffs-Respondents,
vDonald J. Trump, Defendant-Appellant. Donald J. Trump For President, Inc., et al., Defendants.


Kasowitz Benson Torres LLP, New York (Marc E. Kasowitz of counsel), for appellant.
Charny &amp; Wheeler P.C., Rhinebeck (Nathaniel K. Charny of counsel), and Eisner &amp; Dictor, P.C., New York (Thomas Lamadrid of counsel), for respondents.



Appeal from order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered September 20, 2019, which denied defendants' motion to quash a subpoena ad testificandum, granted plaintiffs' cross motion to compel President Trump to testify via videotaped testimony, and ordered President Trump to appear for a videotaped deposition prior to the trial of this matter, unanimously dismissed, without costs, as moot.
This appeal concerning the proper standard for determining whether a sitting President may be compelled to give videotaped trial testimony about unofficial acts in a civil action against him or her is moot given that the rights of parties will not be directly
affected by our determination, and that there will not be an immediate consequence of the judgment (see  Matter of Hearst Corp. v Clyne, 50 NY2d 707, 713—714 [1980]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 27, 2021








